        EXHIBIT B




Case 1:23-cv-00423-WO-JLW Document 76-4 Filed 02/26/24 Page 1 of 31
          CONSOLIDATED SAAS TERMS, SERVICE LEVEL
          AGREEMENT, AND TERMS AND CONDITIONS
This Contract is entered by and between the North Carolina Administrative Office of the Courts
("NCAOC"), on behalf of the North Carolina Judicial Branch, and Tyler Technologies, Inc. ("Tyler") (jointly
referred to as "the Parties") and is effective as of the date on which it first becomes fully executed by
both Parties (the "Effective Date").

WHEREAS,after a competitive procurement process, NCAOCselected Tyler to provide certain
Products and services set forth in this Contract, including providing accessto Tyler's Software,
Products and Cloud Service; and

WHEREASTyler desires to provide Products and services under the terms of this Contract in exchange
for the good and valuable consideration listed in the Cost Proposal & Payment Schedule and other
mutual covenants and promises set forth in this Contract;

NOW THEREFORE,     the Parties agree to this Contract consisting of the following documents that are
listed in descending order of precedence:

    1. Consolidated Saas Terms, Service Level Agreement, and Terms and Conditions, excluding its
         Exhibits;
    2.   Exhibit A, Statement of Work and Schedule A-1, Section 12.0 of Tyler's Response to NCAOC's
         Request for Proposals (i.e. the Responsesto Business Capabilities/Requirements Matrices);
    3.   Exhibit B, Cost Proposal & Payment Schedule;
    4.   Exhibit C, Electronic Filing Exhibit;
    5.   Exhibit D, Merchant Payment Card Processing Exhibit;
    6.   Exhibit E, First and Second Rounds of Clarification Questions and Responses, incorporated
         herein by reference;
    7.   Exhibit F, Remainder of Response to the Request for Proposals, incorporated herein by
         reference; and
    8.   Exhibit G, Request for Proposals 02-18055, incorporated herein by reference.

1) DEFINITIONS
    a) "Cloud Service" means Software-as-a-Service (SaaS)consisting of system administration, system
       management, and system monitoring activities that Contractor performs for the Tyler Software
       including the capability to use Tyler's Software applications initially running on Microsoft AZURE
       Government Cloud domain infrastructure provided by Tyler. Tyler is responsible for managing,
       securing, and controlling the underlying cloud infrastructure including network, servers,
       operating systems, and storage, and individual application capabilities with the exception of

-----------------•••-----------------




     Case 1:23-cv-00423-WO-JLW Document 76-4 Filed 02/26/24 Page 2 of 31
     limited user-specific application configuration settings. Cloud Services are also referred to
     herein as Saas Services.
  b) "Computer" means a Data processing device capable of accepting Data, performing prescribed
     operations on the Data, and supplying the results of these operations; for example, a device that
     operates on discrete Data by performing arithmetic and logic processes on the Data, or a device
     that operates on analog Data by performing physical processes on the Data.
  c)   "Contract" refers to all of the documents listed in descending order of precedence in the
       paragraph preceding this Definitions section.
  d) "Contract Administrator" shall mean Tyler's Director of Contracts (currently Rob Kennedy-
     Jensen) and NCAOC'sChief Business Officer (currently Brad Fowler) or their respective
     designee(s).
  e) "Contractor," "Vendor," and "Tyler" refer to Tyler Technologies, Inc.
  f)   "Data" means recorded information, regardless of form or method of recording.
  g) "Deliverables" means those service deliverables itemized in the Cost Proposal & Payment
     Schedule attached hereto as Exhibit 8.
  h) "Defect" means a failure of the Tyler Software to substantially conform to the functional
     descriptions set forth in Contractor's written proposal to NCAOC,or their functional equivalent.
     Future functionality may be updated, modified, or otherwise enhanced through Tyler's
     maintenance and support services included with this Contract, and the governing functional
     descriptions for such future functionality will be set forth in the then-current Documentation.
  i)  "Documentation" means any on line or written documentation related to the use or functionality
      of the Tyler Software that Contractor provides or otherwise makes available to NCAOC,
      including instructions, user guides, manuals and other training or self-help documentation.
  j) "Incident" means an unexpected, unintended, or unplanned symptom relating to the use or
      operation of the Cloud Service or Tyler Software that appears reasonably attributable to an
      issue within Tyler's responsibility or control under this Contract that may require Support under
      this Contract. Representative examples of an Incident may include Downtime or a Defect.
   k) "Judicial Branch" shall mean the North Carolina Judicial Branch.
  I)   "Judicial Branch Data" shall mean Data provided by the Judici.alBranch in addition to any Data
       derived therefrom, metadata, and Data collected or maintained by Contractor in connection
       with services provided under the Contract.
  m) "NCAOC" or "Client" shall mean the North Carolina Administrative Office of the Courts.
  n) "Non-Qualified Products" are hardware and Software not supplied or approved by the
     Contractor, and Products for which NCAOCdoes not allow Contractor to incorporate
     modifications.
  o) "Products" include Tyler Software, Deliverables, or Documentation, as listed in the Cost Proposal
     & Payment Schedule.
  p) "Professional Manner'' means that the Contractor's personnel performing services will possess
     the skill and competence consistent with the prevailing business standards in the applicable
     section of the information technology industry.
  q) "Saas Fees" means those fees set forth in the Cost Proposal & Payment Schedule for payment of
     SaasServices.
  r) "SLA" means the service level agreement for the Cloud Service set forth in Paragraph 3.
  s) "Software" is Data executable or interpretable by a Computer to perform one or more tasks.




Contract between NCAOC& Tyler
Reference #2019-61
                                                                                                          Page 2 of 30




   Case 1:23-cv-00423-WO-JLW Document 76-4 Filed 02/26/24 Page 3 of 31
     t)   "Support" means one or more services rendered to assist users or administrators with the Cloud
          Service or the Tyler Software, including but not limited to, Tyler Software updates and other
          maintenance and support services, all if and as described in this Contract.
     u) "Support Call Process" means the support call process applicable to all of Tyler's customers who
        have licensed the Tyler Software. A copy of Tyler's current Support Call Process is included in
        Paragraph 7.
     v) "Term" means the ten (10) year period commencing on the first day of the month following the
        Effective Date.
     w) "Tyler Software" means Contractor's proprietary software, including any integrations, custom
        modifications, or other related interfaces identified in the Cost Proposal & Payment Schedule
        and licensed by Contractor to NCAOCthrough this Contract. The Tyler Software also includes
        embedded third-party software that Contractor is licensed to embed in Contractor's proprietary
        software and sub-license to NCAOC.

2}   CLOUD SERVICE
Tyler shall provide the Cloud Service hosted initially on Microsoft AZUREGovernment Cloud domain
infrastructure dedicated to NCAOC. In the event that Tyler proposes to migrate the Cloud Service to
another host, a formal amendment of this Contract shall be required under Paragraphs 33 and 43
below.

During the term of this Contract, including any renewals or extensions thereof, Tyler shall comply with:
(1) any and all certifications and accreditations in connection with the Contract or legal requirements
applicable to Tyler's provision of the Cloud Service; and (2) National Institute of Standards and
Technology (NIST) 800-53 information security standard or its equivalent.
NCAOCmay not: (a) make the Tyler Software or Documentation resulting from the Saas Services
available in any manner to any third party for use in the third party's business operations except as
required by applicable law; (b) modify, make derivative works of, disassemble, reverse compile, or
reverse engineer any part of the Saas Services; (c) access or use the Saas Services in order to build or
support, or assist a third party in building or supporting, products or services competitive to Contractor;
or (d) license, sell, rent, lease, transfer, assign, distribute, display, host, outsource, disclose, permit
timesharing or service bureau use, or otherwise commercially exploit or make the Saas Services, Tyler
Software, or Documentation available to any third party other than as expressly permitted by this
Contract.
Judicial Branch Data is classified as follows under NIST800-60:


                             Information and Information
                                                               Potential Impact Levels
                              System Security Objectives


                                   Confidentiality                       High


                                      Integrity                          High


                                     Availability                        High




 Contract between NCAOC & Tyler
 Reference #2019-61
                                                                                                              Page 3 of 30




      Case 1:23-cv-00423-WO-JLW Document 76-4 Filed 02/26/24 Page 4 of 31
3)     CLOUD SERVICELEVELS
I.        Agreement Overview

         This SLAoutlines the information technology service levels that Tyler will provide to NCAOCto
ensure the availability of the Saas Services that Tyler will provide in connection with the Contract.

II.    Definitions. Except as defined below, all defined terms have the meaning set forth elsewhere in
the Contract.

       •    "Attainment" means the percentage of time during a calendar quarter, with percentages based
            on those contained in the chart under Section I11.c.,below, in which NCAOChas Service
            Availability.

       •    "Client Error Incident" means any service unavailability resulting from NCAOCapplications,
            content or equipment, or the acts or omissions of any NCAOCservice users or third-party
            providers over whom Tyler exercises no control and which Tyler did not directly cause or create.

       •    "Disaster" means an event that renders any portion of a data center's infrastructure used in
            connection with the Contract both inoperable and unrecoverable.

       •     "Downtime" means those minutes during which the Tyler Software is not available for NCAOC
             use.

       •    "Emergency Maintenance" means (1) maintenance that is required to patch a critical security
            vulnerability; (2) maintenance that is required to prevent an imminent outage of Service
            Availability; or (3) maintenance that is mutually agreed upon in writing by Tyler and NCAOC.

       •    "Force Majeure," for purposes of this SLAonly, means an event beyond the reasonable control
            of NCAOCor Tyler, including, without limitation, governmental action, war, riot or civil
            commotion, fire, natural disaster, or any other cause that: (a) could not with reasonable
            diligence be foreseen or prevented by NCAOCor Tyler, and (b) did not arise out of or result
            from, or was not caused by, the negligence or willful misconduct of the Party who or which
            declares force majeure. For all other purposes under this Contract, the definition of "force
            majeure" set forth in Paragraph 37 shall apply.

       •    "Scheduled Downtime" means those minutes during which the Tyler Software is not available
            for NCAOCuse due to Tyler's scheduled maintenance windows.

       •     "Service Availability" means that the Tyler Software is capable of receiving, processing, and
             responding to requests, excluding Scheduled Downtime, Emergency Maintenance, Client Error
             Incidents and Force Majeure.

       •     "RPO" means Recovery Point Objective and refers to the maximum data loss per declared
             Disaster event during any calendar month throughout the Contract Term that could occur
             following a Disaster.

       •     "RTO" means Recovery Time Objective and refers to the amount of time per declared Disaster
             event during any calendar month throughout the Contract Term that it takes for the Saas
             Services to become operational following a Disaster.




     Contract between NCAOC& Tyler
     Reference #2019-61
                                                                                                               Page 4 of 30




           Case 1:23-cv-00423-WO-JLW Document 76-4 Filed 02/26/24 Page 5 of 31
Ill.     Service Availability
Subject to the terms of this SLA,Tyler will provide the Tyler Software to NCAOCwith a Service
Availability of one hundred percent (100%), twenty-four (24) hours per day, every day of the calendar
year throughout the Contract Term. Tyler has set Service Availability goals and measures under the
terms of this SLA (see Section 111.c,
                                   herein), regardless of whether Tyler has met those goals by tracking
Attainment. Tyler will monitor the Saas Services under this SLAtwenty-four (24) hours per day every
day of the calendar year and shall undertake commercially reasonable efforts to address any service
issues that impact the 100% Attainment target.


Tyler shall, at no additional charge to NCAOC,make a determination, in good faith, of when Service
Availability has not been achieved based on its severity downtime reports, Incident reports and other
available information, which Tyler shall, at no additional charge, make available for auditing by NCAOC
at NCAOC'srequest.
         a.        NCAOCResponsibilities
Whenever NCAOCexperiences Downtime, NCAOCmust follow the Support Process defined in Paragraph
7. Tyler shall provide NCAOCwith a support Incident number for tracking purposes.
NCAOCmust document, in writing by Help Desk ticket, all Downtime that is experienced during each
calendar quarter throughout the Contract Term. NCAOCmust deliver such documentation for any given
calendar quarter to Tyler within thirty (30) days of that quarter's end. The documentation shall include
the supporting Incident number(s) and corresponding Downtime(s) experienced.
         b.        Tyler Responsibilities
Tyler shall use commercially reasonable efforts to notify NCAOCthat Downtime has occurred as soon as
it is confirmed, either through automated monitoring systems or by other mutually agreed-upon means.
When the Tyler support team receives notice from NCAOCthat Downtime has occurred or is occurring,
Tyler will work with NCAOCto identify the cause of the Downtime and will work with NCAOCto resume
normal operations.

Upon timely receipt of NCAOCDowntime report noted in Section Ill.a, above, Tyler will compare that
report to its own outage logs and support tickets to confirm that Downtime for which Tyler is
responsible occurred.
Tyler will respond to NCAOC'sDowntime report within thirty (30) days of receipt. To the extent that
Tyler has confirmed Downtime for which Tyler is responsible, Tyler will provide NCAOCwith the Client
Relief set forth below.
NCAOCwill have thirty (30) days to dispute the outcome findings in writing which were provided by
Tyler.
At no additional charge to NCAOC,NCAOCmay request from Tyler, and Tyler shall promptly provide to
NCAOC,a detailed, written report that documents all Emergency Maintenance matters that were
undertaken during any preceding calendar quarter, including all related or associated remedial actions
or matters that were undertaken in response to each Emergency Maintenance identified in the report.
         c.        Client Relief
When a Service Availability goal is not met due to confirmed Downtime, Tyler will provide NCAOCwith
relief that corresponds to the percentage amount by which that goal was not achieved, as set forth in
the Client Relief Schedule shown in the table below.


  Contract between NCAOC& Tyler
  Reference #2019-61
                                                                                                           Page 5 of 30




       Case 1:23-cv-00423-WO-JLW Document 76-4 Filed 02/26/24 Page 6 of 31
Notwithstanding the above, the total amount of all relief that would be due to NCAOCunder this SLA
each calendar quarter will not exceed 50% ofthe then-current quarterly Saas Fees. The total credits for
any such Client Relief to which NCAOCis entitled under this SLAfor each calendar quarter will be
reimbursed in the form of a credit that will be applied to NCAOC'snext quarterly billing cycle. Issuingof
such credit in accordance with this paragraph does not relieve Tyler of its obligations under the Contract
and this SLAto correct the problem which created the service interruption.
Every calendar quarter, Tyler will compare confirmed Downtime to Service Availability under this SLA. If
the Actual Attainment does not meet the Targeted Attainment, as shown in the table below, the
corresponding Client Relief, as shown below, will apply on a quarterly basis throughout the Contract
Term. For the avoidance of doubt, Attainment for purposes of the Client Relief Schedule below will be
calculated based on the Service Availability of the Tyler Software excluding the Odyssey File & Serve
System.
      Targl'tccl :\ttainnwnt     Al'lual Attainnwnt                       Client Rl'lil'f

                                     100% - 99.5%         Prompt, remedial action will be taken.

                                                          5% credit of 55% of the then-current quarterly
                                    99.49% - 99.0%        Saas Fees for the affected calendar quarter will be
                                                          posted to the next billing cycle
                                                          10% credit of 55% of the then-current quarterly
                                    98.99% - 98.5%        Saas Fees for the affected calendar quarter will be
              100%
                                                          posted to the next billing cycle
                                                          20% credit of 55% of the then-current quarterly
                                     98.49% - 95%         Saas Fees for the affected calendar quarter will be
                                                          posted to the next billing cycle
                                                          50% credit of 55% of the then-current quarterly
                                         <95%             Saas Fees for the affected calendar quarter will be
                                                          posted to the next billing cycle


At no additional charge to NCAOC,Tyler will provide a written report from Tyler that documents the
preceding calendar quarter's Service Availability, Downtime, any root cause, and all remedial actions
that have been/will be taken, and any credits that may be issued. Tyler will provide such written
report that documents any preceding calendar month's Service Availability, Downtime, root cause
analysis, and all remedial actions, within thirty (30) days of the end of the quarter.
If Attainment is less than 95% for three (3) or more calendar months in any consecutive twelve {12)
month period, then NCAOChas the right, but not the obligation, to: (a) terminate the Contract
immediately in accordance with the applicable early termination provisions contained in the Contract;
and (b) receive a cash refund from Tyler, either by check or wire transfer, of any prepaid but unused
quarterly Saas Feesto NCAOC'sdesignated office or account, whichever is most applicable, within
sixty (60) days from the effective date of such termination.
IV.        Applicability
The commitments set forth in this SLAdo not apply during Scheduled Downtime, Client Error Incidents,
Emergency Maintenance and Force Majeure. For the avoidance of doubt, if Tyler is a cause of an issue
that requires Emergency Maintenance, then Downtime resulting from such Emergency Maintenance
shall be included in the calculation of Attainment.



 Contract between NCAOC& Tyler
 Reference #2019-61
                                                                                                                Page 6 of 30




        Case 1:23-cv-00423-WO-JLW Document 76-4 Filed 02/26/24 Page 7 of 31
Tyler performs maintenance on the Tyler Software during limited windows that are historically known
to be reliably low-traffic times. As of the Effective Date of the Contract, Tyler's performs such
maintenance on Sundays between 7:00 a.m. and 11:00 a.m. Eastern Time. Tyler will provide NCAOC
with advance written notice of any change to the current maintenance schedule. If and when any such
maintenance is predicted to occur during periods of higher traffic, Tyler will provide advance notice of
those windows and will coordinate to the greatest extent possible with NCAOC. In instances where
maintenance of any part of the Tyler Software requires Scheduled Downtime, Tyler will provide
written notice to NCAOCat least seventy-two (72) hours prior to any scheduled maintenance.
Scheduled Downtime will not exceed four (4) hours per calendar month, unless two weeks' advance
written notice is provided by Tyler. All minutes of Scheduled Downtime which (a) exceed four (4)
hours per calendar month, and (b) NCAOCwas not given at least two (2) weeks' advance written
notice, shall be included in the calculation of Attainment under this SLA.
If Downtime is known to be necessary to perform any Emergency Maintenance, then Tyler s~all use
commercially reasonable efforts to notify NCAOCin writing, a minimum of four (4) hours, or as early as
is reasonably practicable, prior to the start of such maintenance.
Tyler and NCAOCagree that Tyler has the right to perform scheduled maintenance that is designed not
to impact Service Availability at any time. Any Scheduled Downtime will be excluded from calculation of
Attainment, except as specifically noted in the second paragraph of this subsection entitled
"Applicability." To ensure optimal performance of the Saas Services, Tyler reserves the right to perform
unscheduled Emergency Maintenance at any time.

V.       Force Majeure

NCAOCwill not hold Tyler responsible for not meeting Service Availability levels outlined in this SLAto
the extent any failure to do so is caused by Force Majeure. In the event of Force Majeure, Tyler will file
with NCAOCa signed request that said failure be excused. That writing will at least include the essential
details and circumstances supporting Tyler's request for relief pursuant to this SLA. NCAOCwill not
unreasonably withhold its acceptance of such a request.


VI.      Backupand Recovery
Tyler will provide the Saas Services in a highly available architecture to protect the Judicial Branch Data
and ensure Service Availability as described in Section Ill, herein. Tyler will utilize at least two (2)
operational data centers that are geographically disparate and equally capable of providing the Saas
Services to NCAOCpursuant to the terms of the Contract. In the event of a Disaster, Tyler will recover
the Judicial Branch Data and continue to p·rovide the Saas Services at a recovered or alternate
operational data center within the times defined in the table below following the start of such Disaster.
Tyler will provide Client Relief, as shown in the table set forth immediately below, to NCAOCfor any
calendar month(s) where the RPOor RTOtargets are not met. For the purposes of the table set forth
below, the term "Actual Achievement" means actual time taken by Tyler to achieve the Service Level.

       Description           Actual :\dtie\'Cment                     Clicnt Relief

                                     <2 Hours        Prompt, remedial action will be taken

              RPO                                    100% credit against the then current monthly (1/3 of
                                     >2 Hours        quarterly fee) Saas Fees for each affected calendar
                                                     month to be applied to NCAOC' s next invoice



  Contract between NCAOC& Tyler
  Reference #2019-61
                                                                                                              Page 7 of 30




      Case 1:23-cv-00423-WO-JLW Document 76-4 Filed 02/26/24 Page 8 of 31
                                     <4 Hours         Prompt, remedial action will be taken

                RTO                                   100% credit against the then current monthly (1/3 of
                                     >4 Hours         quarterly fee) Saas Fees for each affected calendar
                                                      month to be applied to NCAOC's next invoice


Tyler will audit the average CPU and memory utilization of web application and database servers on a
monthly basis. If average CPU or memory utilization exceeds the percentages in the table below,
adjustments will be made to the Saas environment to restore such percentages below the maximum
average CPU and memory utilization. Average server utilization is calculated during business hours (i.e.,
Monday through Friday from 8:00 a.m. to 6:00 p.m. Eastern Time). Upon client's written request, once
per quarter, Tyler will provide metrics on average utilization.


            Application Tier           Maximum Average CPU         Maximum Average Memory
                                            Utilization                   Utilization
      Web Application Servers                   80%                             80%

            Database Server                     75%                             N/A


Without limiting the foregoing, Tyler agrees that scaling the environment appropriately to address
performance concerns driven by the need for additional hardware can be performed as needed,
independent of a scheduled audit. Tyler resources will monitor the environment to determine the scope
of additional resources needed to ensure the environment is sized appropriately.

Representatives of Contractor and NCAOCshall meet as often as may be reasonably requested by either
party to review the performance of the Cloud Service and to discuss technical plans, financial matters,
system performance, service levels, and any other matters related to the Contract.

Changes to SLA
Contractor may not change the SLAduring the Term in any manner that adversely affects NCAOCor
degrades the service levels applicable to NCAOCwithout NCAOC'swritten approval.

4)     TYLER SOFTWARE UPDATES AND UPGRADES
During the Term, Contractor shall make updates and upgrades available to NCAOCat no additional cost
when Contractor makes such updates and upgrades generally available to its users, as further described
in Paragraph 7.

5)     CLOUD SUBSCRIPTION TERMS AND PRICING
       a) Contractor hereby grants to NCAOCa license to (i) accessand use the Cloud Service, (ii) use the
          Tyler Software as embodied or used in the Cloud Service, and (iii) view, copy, download (if
          applicable), and use Documentation.
       b) No terms, including a standard click-through license or website terms of use or privacy policy,
          shall apply to NCAOCunless NCAOChas expressly agreed to such terms.
       c) The Saas Fees for the Cloud Service shall be in accordance with the Cost Proposal & Payment
          Schedule.



     Contract between NCAOC& Tyler
     Reference #2019-61
                                                                                                             Page 8 of 30




         Case 1:23-cv-00423-WO-JLW Document 76-4 Filed 02/26/24 Page 9 of 31
       d) Quarterly, Tyler shall detail any audit, true-up, true-forward, or equivalent procedure employed
          by Tyler. Tyler shall describe how it measures storage in its procedure and how NCAOCshall be
          able to verify and validate such measurements. Tyler shall provide NCOACwith accessto
          storage information and permit resizing of usage commitments based upon storage reporting.

6)     DISASTER RECOVERYAND BUSINESS CONTINUITY
       a) Contractor shall maintain and follow a disaster recovery plan designed to maintain the Judicial
          Branch's accessto the Cloud Service and to prevent the unintended destruction or loss of
          Judicial Branch Data. The disaster recovery plan shall provide for a "secondary site" backup
          facility in a geographically separate region which represents a replicated data center with
          equivalent capacity of the primary production center. The secondary site shall be equipped with
          all the necessary hardware, Software, and network connectivity to allow near real-time
          replication of the production application server Data. Production workload and network
          connectivity can be failed over to the secondary site within four (4) hours, thus ensuring minimal
          Downtime. Replication and appropriate network connectivity shall provide for less than two (2)
          hours' loss of Judicial Branch Data via replication technology and network connectivity between
          data centers. The secondary site shall be continuously on line and running without disruption so
          as to ensure Data synchronization between the sites with allowed exceptions for maintenance.
       b) Contractor shall test the production environment disaster recovery at minimum once annually,
          working with NCAOCat mutually agreed to scheduling dates. Disaster recovery test dates shall
          be scheduled twelve {12) months in advance of actual test dates.
       c) Contractor shall monitor the secondary site's functionality and provide quarterly reports to
          NCAOCshowing that the secondary site's replication environment is active and working in
          accordance with the specifications herein.
       d) In addition to the secondary site backup system, Contractor shall back up Judicial Branch Data
          no less than twice daily to one {1) off-site location, a "hardened" facility located within the
          continental United States at a location chosen by Tyler. Backups shall provide for a 30-day
          retention period with Monday through Saturday Data backups consisting of incremental Data,
          and Sundays being a full Data backup.

7)     SUPPORT AND MAINTENANCE - SUPPORT PROCESS
       I.        Support Channels

Tyler provides the following channels of support for NCAOC'sauthorized users, designated by NCAOCin
accordance with Tyler's registration process:

       (1) On-line submission (portal) - for Priority Level 2 through 4 Incidents or Defects noted in the
           table below, NCAOC'sauthorized users may submit unlimited support Incident or Defect
           requests through the customer relationship management portal available at the Tyler website
           via www.tylertech.com.
       (2) Telephone - for Priority Level 1 through 4 Incidents or Defects noted in the table below,
           NCAOC'sauthorized users receive toll-free, unlimited telephone software support via 877-874-
           8499 between the hours of 8:00 a.m. to 8:00 p.m. Eastern Time. Additionally, Priority Level 1
           Incidents or Defects may be reported at the number above until 10:00 p.m. Eastern Time.




     Contract between NCAOC& Tyler
     Reference #2019-61
                                                                                                               Page 9 of 30




       Case 1:23-cv-00423-WO-JLW Document 76-4 Filed 02/26/24 Page 10 of 31
    II.         Support Availability

Tyler's primary support is available during the local business hours of 8 a.m. to 8 p.m. Eastern Time,
Monday through Friday. Tyler will provide emergency support outside of local business hours for Priority
Level 1 Incidents or Defects as such Incident or Defect is noted in the table contained in Section 111.b,
below. Emergency support for such Priority Level 1 Incidents or Defects that arise between 10:00 p.m.
and 8:00 a.m. Eastern Time and on Saturdays and Sundays must be reported via: 800-965-0383. Tyler's
holiday schedule is outlined below. Tyler will provide emergency support coverage on these days.

 New Year's Day                        Thanksgiving Day
 Memorial Day                          Day after Thanksgiving
 Independence Day                      Christmas Day
 Labor Day



    Ill.        Incident or Defect Handling

 For the avoidance of doubt, each reference to lncident(s) includes Defect(s).


           a.   Incident or Defect Tracking

Every support Incident or Defect is logged into Tyler's Customer Relationship Management System and
given a unique Incident or Defect number. This system tracks the current status and history of each
Incident or Defect. The Incident or Defect tracking number is used to track and reference open Incidents
or Defects when NCAOCcontacts Tyler's support personnel. NCAOCmay track Incidents or Defects,
using the Incident or Defect number, through the portal at Tyler's website or by calling support directly.


           b.   Incident or Defect Priority


Each Incident or Defect is assigned a priority level, which corresponds to NCAOC'sneeds and deadlines.
Tyler and NCAOCwill reasonably set the priority of the Incident or Defect pursuant to the chart below
for all submitted Incidents or Defects. The goal is to help guide NCAOCtoward clearly understanding and
communicating the importance of the issue and to describe generally expected response and resolution
targets in the production environment only.

Reference to a "confirmed support Incident" or "confirmed support Defect" means that Tyler and
NCAOChave successfully validated the reported Incident or Defect.




  Contract between NCAOC& Tyler
  Reference #2019-61
                                                                                                             Page 10 of 30




     Case 1:23-cv-00423-WO-JLW Document 76-4 Filed 02/26/24 Page 11 of 31
  Priority
   Level         Characteristics of Support Incidents or
                                                                             Resolution Targets
 Incidents                       Defects
or Defects

               Support Incidents or Defects that cause          Tyler shall provide an initial response to
               (a) complete application failure or              Priority Level 1 Incidents or Defects within
               application unavailability; (b) application      one (1) hour of receipt of the Incident or
               failure or unavailability in one or more of      Defect. Once the Incident or Defect has
               the client's remote location; or (c)             been confirmed, Tyler shall use
    1
               systemic loss of multiple essential system       commercially reasonable efforts to resolve
 Critical
               functions. Examples include: unable to           such support Incidents or Defect provide a
               save a case record, unable to book a             circumvention procedure within eight (8)
               jailing, failure of any integration, all users   hours.
               unable to take a payment, and all jobs
               failing.

               Support Incident or Defect that causes (a)       Tyler shall provide an initial response to
               repeated, consistent failure of essential        Priority Level 2 Incidents or Defects within
               functionality affecting more than one            four (4) business hours of receipt of the
               user or (b) loss or corruption of data.          Incident or Defects. Once the Incident or
    2                                                           Defect has been confirmed, Tyler shall use
   High                                                         commercially reasonable efforts to resolve
                                                                such support Incidents or Defects or
                                                                provide a circumvention procedure within
                                                                five (5) business days, except as set forth in
                                                                Section 111.c(6),below.

               Priority Level 1 Incident or Defect with an      Tyler shall provide an initial response to
               existing circumvention procedure, or a           Priority Level 3 Incidents or Defects within
               Priority Level 2 Incident or Defect that         one (1) business day of receipt of the
               affects only one user or for which there is      Incident or Defects. Once the Incident or
               an existing circumvention procedure.             Defect has been confirmed, Tyler shall use
   3
                                                                commercially reasonable efforts to resolve
 Medium
                                                                such support Incidents or Defects without
                                                                the need for a circumvention procedure
                                                                with the next published maintenance
                                                                update or service pack, which shall occur at
                                                                least quarterly.




Contract between NCAOC& Tyler
Reference #2019-61
                                                                                                                 Page 11 of 30




  Case 1:23-cv-00423-WO-JLW Document 76-4 Filed 02/26/24 Page 12 of 31
  Priority
    Level         Characteristics of Support Incidents or
                                                                           Resolution Targets
 Incidents                        Defects
 or Defects

                Support Incident or Defect that causes        Tyler shall provide an initial response to
                failure of non-essential functionality or a   Priority Level 4 Incidents or Defects within
                cosmetic or other issue that does not         two (2) business days of receipt of the
       4        qualify as any other Priority Level.          Incident or Defect. Once the Incident or
    Non-                                                      Defect has been confirmed, Tyler shall use
   critical                                                   commercially reasonable efforts to resolve
                                                              such support Incidents or Defects, as well
                                                              as cosmetic issues, with a future version
                                                              release.



        c.    Incident or Defect Escalation

Tyler's support duties and obligations consists of four (4) types of personnel:

    (1) Application Support Representatives: responsible for responding & resolving Incidents or Defects;
    (2) Application Support Engineers: development staff responsible for providing technical assistance
        to the support representatives;
    (3) Support Managers: responsible for the management of support teams; and
    (4) Client Success Account Managers: responsible for day-to-day account management.

In addition to the identified personnel:

    (5) If Tyler is unable to resolve any Priority Level 1 or 2 Incident or Defect as listed immediately
        above or the priority of an issue has elevated since initiation, then NCAOCmay escalate the
        Incident or Defect to Tyler's Client SuccessAccount Manager. Tyler's Client SuccessAccount
        Manager will meet with NCAOC'sdesignated personnel and any of its assigned Tyler staff to
        establish a mutually agreeable plan for addressing the applicable Incident or Defect.
    (6) If NCAOC,in good faith, determines that a Priority Level 2 Incident or Defect has a critical impact
        to NCAOC'sbusiness operations and requires a faster response and resolution time than set
        forth in the table above, NCAOCmay escalate the issue and request it be worked as a Priority
        Level 1 Incident or Defect. NCAOCmust provide Tyler with an explanation of the business
        impact experienced by NCAOC.

         d.   Remote Support Tool

Tyler will provide remote support directly to the Saas System to troubleshoot and resolve Incidents or
Defects. In an instance where remote access is required to a NCAOCSystem, NCAOCwill timely provide
Tyler with the appropriate level of accessto obtain the necessary information to resolve an Incident or
Defect. Tyler will, at its discretion, use an industry-standard remote support tool. Tyler's support team
must have the ability to quickly connect to NCAOC'ssystem and view the site's setup, diagnose
problems or assist with screen navigation.



 Contract between NCAOC& Tyler
 Reference #2019-61
                                                                                                              Page 12 of 30




    Case 1:23-cv-00423-WO-JLW Document 76-4 Filed 02/26/24 Page 13 of 31
         e. Additional Support Resources

A number of additional training and support resources are available to NCAOCas set forth below and
can be accessed via www.tylertech.com:

         (1) Tyler Website -for accessing client tools, documentation and other information including
             support contact information.

         (2) Tyler Community- an on-line resource, Tyler Community provides a venue for all Tyler
              clients with current maintenance agreements to collaborate with one another, share best
              practices and resources, and access documentation.

         (3) Program Updates -where development activity is made available for client consumption.

         (4) Tyler University- online training courses on Tyler Products available to authorized users
             throughout the Term of the Contract.

IV.      Maintenance Terms and Conditions
      1) Support Call Process. In addition to the terms set forth in the SLAand the Support Call Process,
         Contractor shall:
            a. perform Contractor's maintenance and support obligations in a professional, good, and
                 workmanlike manner, consistent with industry standards, to resolve Defects in the Tyler
                 Software (limited to the then-current version and the immediately prior version);
            b. provide telephone support during Contractor's established support hours;
            c. maintain personnel that are sufficiently trained to be familiar with the Tyler Software in
                 order to provide maintenance and support services;
            d. make available to NCAOCall major and minor releases to the Tyler Software (including
                 updates and enhancements) that Contractor makes generally available without
                 additional charge to customers who have a maintenance and support agreement in
                 effect; and
            e. provide non-Defect resolution support of prior releases of the Tyler Software in
                 accordance with Contractor's then-current release life cycle policy.
      2) Maintenance and Support does not include the following services:
            a. onsite support (unless Tyler cannot remotely correct a Defect in the Tyler Software, as
                 set forth above);
            b. application design;
            c. other consulting services;
            d. support outside Contractor's normal business hours as listed in Contractor's then-
                 current Support Call Process. Requested services such as those outlined in this section
                 will be billed to NCAOCon a time and materials basis at Tyler's then current
                 rates. NCAOCmust request those services with at least one (1) weeks' advance notice.
      3)      Contractor may require local administrative security rights to perform remote support
              services, in which case Contractor must seek prior approval from NCAOC. NCAOC
              acknowledges that Contractor's warranty and support obligations under the Contract are
              contingent on receiving reasonable accessto the Tyler Software.
      4)      Contractor is not required to provide support for Non-Qualified Products, or for any other
              software or functionality not supplied under the Contract. NCAOCis responsible for
              removing Non-Qualified Products to allow Contractor to perform Support services.



 Contract between NCAOC& Tyler
 Reference #2019-61
                                                                                                            Page 13 of 30




      Case 1:23-cv-00423-WO-JLW Document 76-4 Filed 02/26/24 Page 14 of 31
       5)         Contractor shall notify NCAOCat least sixty (60) days prior to any major update or upgrade
                  of the Tyler Software.
       6)         Contractor shall notify NCAOCat least five (5) days prior to any minor update or upgrade,
                  including hotfixes and installation of service packs, except in the case of an emergency such
                  as a security breach or a response to a Level 1 or 2 Incident or Defect.

8)     ACCESSTO PERSONS AND RECORDS
Pursuant to N.C.G.S.§147-64.7, NCAOC,the State Auditor, appropriate federal officials, and their
respective authorized employees or agents are authorized to examine all books, records, and accounts
of the Contractor insofar as they relate to transactions with any department, board, officer, commission,
institution, or other division of NCAOCpursuant to the performance of the Contract or to costs charged
to the Contract. The Contractor shall retain any such books, records, and accounts for a minimum of
three (3) years after the completion of the Term of this Contract and any extension thereto.

9) RECORDS AND AUDITS
    a) Contractor shall maintain accurate, reasonably detailed records pertaining to:
            i.  The substantiation of claims for payment under this Contract;
           ii.  SLAdocumentation required by this Contract; and
          iii.  All other books, records, and accounts of the Contractor insofar as they relate to
                transactions with NCAOC.
    b) Audit of Records.
            i.   NCAOC,the State Auditor, appropriate federal officials, and their respective authorized
                employees or agents are authorized to examine all books, records, and accounts of the
                Contractor insofar as they relate to transactions with NCAOCpursuant to the
                 performance of the Contract or to costs charged to the Contract.
           ii.   NCAOCor its designated agent shall have the right, upon reasonable notice to
                Contractor, to audit, review and copy, or contract with a third party to audit the
                following records:
                 a. Records collected by Contractor pursuant to this Paragraph;
                 b. The performance records of Contractor including daily and weekly service
                     quality statistics required under this Contract; and
                 c. Other Contractor records that may reasonably relate to the Contract.
          iii.   Such records shall be made available at no cost in a format that can be downloaded or
                 otherwise duplicated.
Additional audit or reporting requirements may be required by federal or State law or regulation. See,
e.g., N.C.G.S.§ 147-64.7. The parties shall mutually agree to address such additional requirements in
cooperation with each other.
    c) Audit of Infrastructure, Systems, Hosting, Controls, and Security.
Upon request by NCAOC,the Contractor shall provide complete SSAE-16SOC2, Type II reports to
NCAOCupon validation of an NDA. The Contractor shall take corrective action to resolve any
exceptions, material weaknesses, or control deficiencies identified in the SOCreport. Additional audit
or reporting requirements may be required by federal or State law or regulation. See, e.g., N.C.G.S.§
147-64.7. The parties shall mutually agree to address such additional requirements in cooperation with
each other.




     Contract between NCAOC& Tyler
     Reference #2019-61
                                                                                                                  Page 14 of 30




        Case 1:23-cv-00423-WO-JLW Document 76-4 Filed 02/26/24 Page 15 of 31
10} JUDICIALBRANCHDATA
    a) The Judicial Branch retains full right and title to Judicial Branch Data. All Judicial Branch Data
       shall be and remain the sole and exclusive property of the Judicial Branch.
    b) The Judicial Branch shall be able to accessand retrieve its Data at its sole discretion. Subject to
       terms of this Contract, the Judicial Branch shall have the right to accessall Judicial Branch Data,
       regardless of who created the content and for what purpose.
    c) Contractor shall not collect, access,or use Judicial Branch Data except as reasonably necessary
       to perform its obligations under the Contract. Contractor shall be provided a license to Judicial
       Branch Data hereunder for the sole and exclusive purpose of performing its obligations under
       the Contract. Vendor shall not use any information collected in connection with the Contract,
       including Judicial Branch Data, for any purpose other than fulfilling its obligations under the
       Contract.
    d) Contractor shall treat Judicial Branch Data as confidential information. No Judicial Branch Data
       may be disclosed, provided, rented, or sold to any third party for any reason unless required by
       law or regulation or by an order of a court of competent jurisdiction. This obligation shall
       extend beyond the Term of the Contract in perpetuity.
    e) At no time shall any Judicial Branch Data or processes which either belong to the Judicial Branch,
       or are for the Judicial Branch's exclusive use, be copied, disclosed, or retained by Contractor for
       subsequent use in any transaction that does not include the Judicial Branch.
    f) Judicial Branch Data and any copies thereof shall remain at all times within the continental
        United States. Contractor shall disclose to NCAOCthe identity of any third-party host of Judicial
        Branch Data prior to the signing of the Contract.
    g) NCAOCmay export Judicial Branch Data at any time without costs or penalties during the Term
       of the Contract or for up to twelve (12) months after the Term (so long as Judicial Branch Data
        remains in the Contractor's possession). Contractor shall assist NCAOCin exporting and
       extracting Judicial Branch Data, in a format usable without the use of proprietary Products and
        as agreed to by NCAOC,at no additional cost.
    h) After ensuring that NCAOChas its own copy, Contractor shall perform its obligations set forth in
        Paragraph 40(c).
    i) To the extent that any applicable law prevents Contractor from destroying or erasing Judicial
        Branch Data as described in the preceding subsections, Contractor shall retain, in its then
        current state, all such Judicial Branch Data then within its right of control or possession in
        accordance with the confidentiality, security and other requirements of the Contract, and
        perform its obligations with respect to destruction and erasure and give notice thereof to
        NCAOCas soon as such law no longer prevents it from doing so.

11) DATA PRIVACYAND SECURITY
    a) All Judicial Branch Data and backups or copies thereof shall remain in the continental United
       States.
    b) Contractor shall comply with all laws related to data privacy and security applicable to its
       performance under this Contract.
    c) Contractor shall not accessthe Judicial Branch's user accounts or Judicial Branch Data except in
       the course of data center operations, response to service or technical issues, as required by the
       express terms of this Contract, or at NCAOC'swritten request.




 Contract between NCAOC & Tyler
 Reference #2019·61
                                                                                                             Page 15 of 30




    Case 1:23-cv-00423-WO-JLW Document 76-4 Filed 02/26/24 Page 16 of 31
   d) Contractor may not share Judicial Branch Data with its parent company, other affiliate, or any
       other third party without NCAOC'sexpress written consent or otherwise permitted or required
       under this Contract.
   e) Contractor shall provide a secure environment for Judicial Branch Data. Contractor, as part of
       its performance under this Contract, shall protect and prevent unauthorized accessto and use
       or modification of, the Cloud Service and Judicial Branch Data.
   f) Contractor shall encrypt Judicial Branch Data in transit and at rest.
   g) Judicial Branch Data shall be partitioned from other Data in such a manner that accessto it shall
       not be impacted or forfeited due to eDiscovery, search and seizure, or other actions by third
       parties obtaining or attempting to obtain Contractor's records, information, or Data for reasons
       or activities that are not directly related to the Judicial Branch's business.
   h) NCAOCand Contractor shall notify each other of any legal requests for each other's Data (e.g.,
       discovery or public records requests) within five (5) business days. Relevant Data shall be
       preserved in its entirety during the duration of any litigation hold, including maintaining any
       media that was used for backup of the Data which Contractor shall make reasonably available
       for searching. Contractor shall not provide Judicial Branch Data to individuals, groups, or
       organizations making records requests unless directed to do so by an authorized NCAOCofficial
       or otherwise required by applicable law. The Data requested shall be reviewed and potentially
       redacted or removed from provision by authorized Contractor or NCAOCofficials, as applicable,
       in order to ensure compliance with the North Carolina General Statutes and other applicable
       law.
   i) In the event of any breach of the Cloud Service's security that adversely affects Judicial Branch
       Data or Contractor's obligations with respect thereto, or any evidence that leads Contractor to
       reasonably believe that such a breach is imminent, Contractor shall immediately notify NCAOC.
       Contractor shall (i) identify the affected Judicial Branch Data and (ii) inform NCAOCof the
       actions it is taking or shall take to reduce the risk of further loss to the Judicial Branch.
       Contractor shall provide NCAOCthe opportunity to participate in the investigation of the breach
       and to exercise control over reporting the unauthorized disclosure to the extent permitted by
       law.
   j) Contractor shall comply with its obligations under N.C.G.S.Chapter 75, Article 2A as may be
       revised from time to time.
    k) NCAOCshall be responsible for, and mitigate risk by, utilizing a private NISTcompliant SFTPto
       transmit Data to the awarded Contractor ("Initial Conduit"). Contractor is responsible for all
       compliance requirements and data security controls for all Data-at-rest and Data-in-transit
       outside of the Initial Conduit.

12) WARRANTIES & DISCLAIMER
  a)    Minimum warranties for the Cloud Service, Tyler Software, and Documentation shall include:
            i) Contractor has acquired any and all rights, grants, assignments, conveyances, licenses,
               permissions, and authorizations necessary for Contractor to provide the Cloud Service
               and Tyler Software to NCAOC. The Cloud Service and Tyler Software and associated
               materials do not infringe any intellectual property rights of any third party. Contractor
               knows of no actual or threatened actions arising from, or alleged under, any intellectual
               property rights of any third party.




 Contract between NCAOC& Tyler
 Reference #2019-61
                                                                                                           Page 16 of 30




   Case 1:23-cv-00423-WO-JLW Document 76-4 Filed 02/26/24 Page 17 of 31
            ii) The Contractor-provided Computer operating environment into which the Cloud
                 Service, Tyler Software, and Documentation are installed will be in good working order
                 (operating in conformance with applicable standard specifications and functions).
            iii) The Cloud Service and Tyler Software and associated materials do not contain any
                 surreptiti.ous programming codes, viruses, Trojan Horses, "back doors" or other means
                 to facilitate or allow unauthorized accessto NCAOC'sinformation systems.
            iv) The Cloud Service and Tyler Software do not contain any timer, counter, lock or similar
                device (other than security features specifically approved by NCAOCin the Contract)
                that inhibits or in any way limits NCAOC'sability to use the Products as authorized under
                this Contract.
            v)   NCAOCshall notify Contractor if any Cloud Service, Tyler Software, and Documentation
                 does not conform to an applicable warranty during the term of the Contract. Contractor
                 shall, at its option, either repair or replace any Cloud Service, Tyler Software, and
                 Documentation reported as not in conformance with the applicable warranty during the
                 term of the Contract without charge to NCAOCas set forth in this Contract. The repair
                 or replacement of the Cloud Service, Tyler Software, and Documentation shall be new or
                 equivalent to new in performance and fully warranted as set forth under this Contract.
            vi) Contractor warrants that its support and customer service and assistance will be
                performed in accordance with generally accepted industry standards for the duration of
                the Contract. Throughout this period, Contractor shall provide telephone assistanceto
                NCAOCas further detailed in Paragraph 7 of the Contract.
 b)    Professional Services Warranty. Tyler will perform the professional services, including but not
       limited to Cloud Service and custom modification services, if any, to the Tyler Software, in a
       professional, workmanlike manner, consistent with industry standards. In the event Tyler
       provides services that do not conform to this warranty, Tyler will re-perform such services at no
       additional cost to NCAOC.
 c)    Contractor warrants that personnel shall be qualified and shall provide services in a Professional
       Manner.
 d)    Contractor warrants that it shall not knowingly or negligently enter into any agreement with a
       third party that abridges the rights of NCAOCunder the Contract.
 e)    Tyler Software Warranty. Tyler warrants that the Tyler Software will perform without Defects
       during the term of this Contract. If the Tyler Software does not perform as warranted, Tyler will
       use all reasonable efforts, consistent with industry standards, to cure the Defect in accordance
       with the maintenance and support process, the SLA,the Issue Handling process set forth in
       Paragraph 7 and the Support Process as set forth in the Contract. For the avoidance of doubt, to
       the extent any third-party software is embedded in the Tyler Software, NCAOC'swarranty rights
       are limited to Tyler's Defect resolution obligations set forth above; NCAOCdoes not have
       separate rights against the developer of the embedded third-party software. lfTyler cannot
       cure a Defect consistent with this warranty, NCAOCmay exercise other rights under this
       Contract.
 f)    DISCLAIMER. EXCEPTFORTHE EXPRESSWARRANTIESPROVIDED IN THIS CONTRACTAND TO
       THE MAXIMUM EXTENTPERMITTEDBY APPLICABLELAW, CONTRACTORHEREBYDISCLAIMS
       ALL OTHERWARRANTIESAND CONDITIONS, WHETHER EXPRESS,IMPLIED, OR STATUTORY,
       INCLUDING, BUT NOT LIMITED TO, ANY IMPLIED WARRANTIES,DUTIES,OR CONDITIONS OF
       MERCHANTABILITYOR FITNESSFOR A PARTICULARPURPOSE.




Contract between NCAOC& Tyler
Reference #2019-61
                                                                                                            Page 17 of 30




   Case 1:23-cv-00423-WO-JLW Document 76-4 Filed 02/26/24 Page 18 of 31
13) SUPPLEMENTALSaas WARRANTIES
In addition to other warranties set forth in the Contract, Contractor shall warrant that:
    a) Contractor has acquired any and all rights, grants, assignments, conveyances, licenses,
         permissions, and authorizations necessary for Contractor to provide the Cloud Service to the
         Judicial Branch;
    b) The Cloud Service shall perform materially as required by the Contract;
    c) Contractor shall provide to the Judicial Branch commercially reasonable continuous and
         uninterrupted access to the Cloud Service in accordance with the SLAand in accordance with
         the Contract, and shall not interfere with the Judicial Branch's accessto and use of the Cloud
         Service during the Term of the Contract;
    d) The Cloud Service is compatible with and shall operate successfully with any environment
         (including Web browser and operating system) as required by the Contract; and
    e) Contractor and its employees, subcontractors, partners, and third-party providers have taken all
         necessary and reasonable measures to ensure that the Cloud Service provided shall be free of
         Trojan horses, back doors, known security vulnerabilities, malicious code, degradation, or
         breach of privacy or security.

14} ACCESSIBILTY   STANDARD
 Contractor shall comply with the World Wide Web Consortium's Web Content Accessibility Guidelines
 (WCAG) 2.0 as applicable to the public facing component of the Tyler Software. The required
 conformance level shall be AA. The Contractor shall make available, during the Term of the Contract,
 Vendor personnel to discuss accessibility and compliance with the WCAG 2.0 standards.

15) LICENSETO SOFTWAREDESIGNATEDPROPRIETARY
                                          BYTHE CONTRACTOR
   a) Contractor grants NCAOCa non-transferable and non-exclusive enterprise license and right to
      use the Tyler Software and Documentation furnished to NCAOCpursuant to this Contract solely
      for NCAOC'sinternal business purposes. The Tyler Software will be made available to NCAOC
      according to the terms of the SLA. NCAOCacknowledges that Contractor has no delivery
      obligations and will not ship copies of the Tyler Software as part of the Saas Service.
    b) Software provided pursuant to this Contract may, in some circumstances, be accompanied by a
       clickwrap agreement. The term clickwrap agreement refers to an agreement that requires the
       end user to manifest his or her assent to terms and conditions by clicking an "ok" or "agree" or
       similar button on a dialog box or pop-up window as part of the installation process for the
       Software. With respect to NCAOCand Judicial Branch employees and agents, the sole purpose
       of any clickwrap agreement shall be to operate as the mechanism for the installation of the
       Tyler Software. All terms and conditionsof any clickwrap agreement provided with any Tyler
       Software shall have no force and effect and shall be non-bindingon NCAOCand Judicial
       Branchemployees and agents, includingAuthorized Usersas defined in the ElectronicFiling
       Exhibit attached as Exhibit "C" hereto. NCAOC'sright to use the Tyler Software neither
       transfers, vests, nor infers any title or other ownership right in any intellectual property right of
       Contractor or any third party. NCAOC'sright to use neither transfers, vests, nor infers any title
       or other ownership right in any source code associated with the Tyler Software unless otherwise
       agreed by the Parties, and will not be construed as a sale of any ownership rights in the Tyler
       Software.




 Contract between NCAOC& Tyler
 Reference #2019-61
                                                                                                               Page 18 of 30




    Case 1:23-cv-00423-WO-JLW Document 76-4 Filed 02/26/24 Page 19 of 31
16) INTELLECTUAL PROPERTY
    a) Tyler retains all ownership and intellectual property rights to the Saas Services, the Tyler
       Software, and anything developed by Tyler under this Contract. NCAOCdoes not acquire under
       this Contract any license to use the Tyler Software in excess of the scope and/or duration of the
       Saas Services.
    b) The Documentation is licensed to NCAOCand may be used and copied by its employees only for
       internal, non-commercial reference purposes except as required by applicable law.
    c) NCAOCretains all ownership and intellectual property rights to the Judicial Branch Data.

17) USE OF SOFTWARE AND INFORMATION
All Tyler Software and Documentation furnished to NCAOCunder the Contract:
     a) Shall be used by NCAOConly to install, operate, or maintain the Product for which they were
         originally furnished, if any;
    b) Shall not be reproduced or copied, in whole or in part, except as necessary for use as authorized
       under this Contract; and
    c) Shall, together with any copies, except copies for NCAOC'sarchival purposes containing
       NCAOC'sbusiness records, be returned to Contractor or destroyed when no longer needed or
       permitted for use with the Product for which they were initially furnished.


18) ESCROW OF PROPRIETARY SOFTWARE AND INFORMATION
     a) The Contractor shall place in escrow with an independent escrow agent the Contractor Software
        provided pursuant to this Contract, including, but not limited to, a complete copy of the
        executable code, object libraries, application program interfaces, and complete documentation
        of all aspects of the system including, but not limited to, compiling instructions, design
        documentation, technical documentation, user documentation, hardware and Software
        specifications, drawings, and records.
     b) Contractor agrees the source code and other material in escrow is the same being used in
        fulfilling Contractor's obligations under the Contract upon installation and on an ongoing basis.
     c) Contractor shall release source code only if Client is enrolled as beneficiary in Contractor's
        source code escrow program, and there is a failure of Tyler to function as a going concern or
        operate in the in the ordinary course or Tyler is subject to voluntary or involuntary bankruptcy.

   19)   INDEMNITY
    a) Contractor shall indemnify and hold harmless NCAOCfrom any and all third party liabilities,
       claims, damages, costs, expenses, and actions, including reasonable attorneys' fees, for (i)
       personal injury or property damage that are caused by or arise from, the negligent or wrongful
       acts or omissions of the Contractor under the Contract; (ii) a failure to comply with any State or
       federal statute, law, regulation, or act applicable to Contractor's performance under the
       Contract; (iii) a breach of Contractor's confidentiality obligations pursuant to this Contract; or iv)
       as a result of a breach of Judicial Branch Data for which Contractor is responsible.
    b)    Contractor, at its own expense, shall defend any action brought against NCAOCto the extent
         that such action is based upon a claim that the Tyler Software or Documentation supplied by the
         Contractor, or the use or operation thereof, infringes on a patent, copyright, or trademark or
         violates a trade secret in the United States. The Contractor shall pay those costs and damages
         finally awarded or agreed in settlement against NCAOCin any such action.


 Contract between NCAOC& Tyler
 Reference #2019-61
                                                                                                                Page 19 of 30




    Case 1:23-cv-00423-WO-JLW Document 76-4 Filed 02/26/24 Page 20 of 31
   c)   Should any Tyler Software become the subject of a claim of infringement of a patent, copyright,
        trademark or a trade secret in the United States, the Contractor may, at its option and expense
        and without obligation to do so, either procure for NCAOCthe right to continue using the Tyler
        Software or replace or modify the same to cure the infringement. Alternatively, Contractor may
        decide to litigate the claim to judgment, in which case NCAOC may continue to use the Tyler
        Software consistent with the terms of this Contract. If further use of the Contractor Software is
        prevented by injunction, the Contractor shall either procure for NCAOC the right to continue
        using the Tyler Software or replace or modify the same to cure the infringement. If, in the sole
        opinion of NCAOC, the return of such Products or Tyler Software makes the retention of other
        items acquired from the Contractor under this Contract impractical, NCAOC shall then have the
        option of terminating this Contract, or applicable portions thereof, without penalty or
        termination charge. NCAOC may also pursue its other rights under the Contract.
   d)   Contractor will not be required to defend or indemnify NCAOC if any claim by a third party
        against NCAOC for infringement or misappropriation results from NCAOC's alteration of any
        Contractor-branded product or Product or Software, use in contradiction of this Contract, or
        from the continued use of services and Products after receiving notice they infringe on a trade
        secret of a third party.
   e) The foregoing indemnities and defenses by the Contractor shall be conditioned on the following:
             i)    That the Contractor shall be notified within a reasonable time in writing by NCAOC of
                   any such claim; and,
             ii)  That the Contractor shall have the sole control of the defense of any action on such
                  claim and all negotiations for its settlement or compromise, provided however, that
                  NCAOC shall have the option to participate in such action at its own expense. This
                  section in no way limits the rights and duties of the North Carolina Attorney General to
                  represent NCAOC.
             iii) NCAOC agrees to provide Contractor with reasonable assistance, cooperation, and
                  information in defending the claim at Contractor's expense.


20) LIMITATION OF LIABILITY & EXCLUSION OF CERTAIN DAMAGES
EXCEPTAS OTHERWISEEXPRESSLY     SET FORTH IN THIS CONTRACT,TYLER'SLIABILITY FOR DAMAGES
ARISING OUT OF THIS CONTRACT,WHETHER BASEDON A THEORYOF CONTRACTOR TORT, INCLUDING
NEGLIGENCEAND STRICTLIABILITY,SHALL BE LIMITED TO NCAOC'SACTUAL DIRECTDAMAGES, NOTTO
EXCEED(A) DURING THE INITIAL TERM, TWO TIMES THE VALUE OF THE CONTRACTON THE EFFECTIVE
DATE; OR (B) DURING ANY RENEWALTERM, THE THEN-CURRENTANNUAL SAAS FEESPAYABLEIN THAT
RENEWALTERM. THE PRICESSET FORTH IN THIS CONTRACTARE SETIN RELIANCEUPON THIS
LIMITATION OF LIABILITY. THE FOREGOINGLIMITATION OF LIABILITYSHALL NOT APPLYTO CLAIMS
THAT ARE SUBJECTTO PARAGRAPH19.

TO THE MAXIMUM EXTENTPERMITTED BY APPLICABLELAW, IN NO EVENTSHALL EITHERPARTYBE
LIABLE FOR ANY SPECIAL,INCIDENTAL, PUNITIVE, INDIRECT,OR CONSEQUENTIALDAMAGES
WHATSOEVER,EVEN IF SAID PARTYHAS BEENADVISED OF THE POSSIBILITYOF SUCH DAMAGES.


21} TRANSPORTATION
Transportation charges for Software shall be FOB Destination unless delivered by internet or file-
transfer as agreed by NCAOC or otherwise specified in the Contract.




 Contract between NCAOC& Tyler
 Reference #2019-61
                                                                                                             Page 20 of 30




    Case 1:23-cv-00423-WO-JLW Document 76-4 Filed 02/26/24 Page 21 of 31
22) PROHIBITION AGAINST CONTINGENT FEESAND GRATUITIES
Contractor warrants that it has not paid, and agrees not to pay, any bonus, commission, fee, or gratuity
to any employee or official of NCAOC,the Judicial Branch, or the State of North Carolina for the purpose
of obtaining any Contract or award issued by NCAOC. Subsequent discovery by NCAOCof non-
compliance with this provision shall constitute sufficient cause for immediate termination of the
Contract and any other Contracts with the Contractor. Violations of this provision may also result in
debarment of the Contractor.

23) AVAILABILITYOF FUNDS
 Any and all payments by NCAOCare expressly contingent upon and subject to the appropriation,
allocation and availability of funds to NCAOCfor the purposes set forth in the Contract. If the Contract
or any Purchase Order issued hereunder is funded in whole or in part by federal funds, NCAOC's
performance and payment shall be subject to and contingent upon the continuing availability of said
federal funds for the purposes of the Contract or Purchase Order. If the Term of the Contract extends
into fiscal years subsequent to that in which it is approved, such continuation of the Contract is
expresslycontingent upon the appropriation, allocation, and availability of funds by the North Carolina
General Assembly for the purposes set forth in the Contract. If funds to effect payment are not
available, NCAOCwill provide written notification to Contractor. Upon receipt of such notice, or if the
Contract is terminated under this paragraph, Contractor will agree to promptly terminate any services
supplied to NCAOCunder the Contract. NCAOCshall remit payment for fees for the Tyler Software or
other Products and services, including but not limited to Cloud Service and professional services,
delivered prior to the date of the aforesaid notice.

24) PAYMENT TERMS
The manner in which the fee will be paid will be based on the payment terms in the Contract.
   a) Saas Fees. Saas Fees are invoiced on a quarterly basis, beginning on the commencement of the
      Term as set forth in this Contract. Quarterly Saas Feesfor the Term are set forth in the Cost
       Proposal & Payment Schedule. Upon expiration of the initial Term, quarterly Saas Feeswill be
       agreed upon by the Parties.
   b) Other Tyler Software and Services. Implementation and other professional services (including
       Deliverables) are billed and invoiced in accordance with the milestone billing schedule set forth
       in the Cost Proposal & Payment Schedule.

25) ACCEPTANCEPROCESSFOR SERVICESTO BE DELIVEREDUNDER THE STATEMENTOF WORK
As part of the Project Management Plan milestone under the Statement of Work, the Parties will
memorialize mutually agreeable acceptance criteria for any service milestone (also referred to as a
Deliverable in the Statement of Work and Cost Proposal & Payment Schedule) to which the Parties
reasonably agree acceptance criteria should apply. NCAOCwill accept a service milestone only if it
conforms to such acceptance criteria. If a lack of conformance is found, NCAOCwill notify the
Contractor of the non-conformance. Contractor must remedy the non-conformance and resubmit a
corrected service milestone. NCAOCwill review the corrected service milestone to verify whether the
identified deficiency has been corrected. NCAOC'sreview of any service milestone and the time allotted
for Contractor to correct any deficiency will be in accordance with the project schedule, and will be part
of the memorialized process described above.




 Contract between NCAOC& Tyler
 Reference #2019-61
                                                                                                             Page 21 of 30




    Case 1:23-cv-00423-WO-JLW Document 76-4 Filed 02/26/24 Page 22 of 31
If Contractor is unable to correct all documented areas of non-conformance for a given service
milestone within the mutually agreed to timeframe to be established as set forth above, then NCAOC
may at its option:

    a) Continue reviewing the service milestone and require the Contractor to continue until any
       deficiencies are corrected or eliminated;
    b) Request that Contractor provide, at its expense, a replacement service for further review; or
    c) After completion of the process set forth in this section, and providing notice of default in
       accordance with the Contract, terminate this Contract in whole or in part in accordance with its
       terms.

26} CONTRACTOR'SPERFORMANCE/PERFORMANCE                GUARANTEES
The selected Contractor's performance shall be monitored and findings will be recorded over the
duration of the Contract term to ensure satisfactory fulfillment of all Contract obligations. Such
performance may include but is not limited to: services provided, product specification compliance, use
case fulfillment, timeliness, workmanship, compliance with other provisions of the Contract, and the
prompt, complete and satisfactory resolution of any Contract discrepancies. The record of such
performance will be considered in the evaluation of any future bids.

27} KEYPERSONNEL
Contractor's personnel, once accepted by NCAOC,shall be deemed to be key personnel for the purposes
of the Contract. Contractor shall use commercially reasonable efforts to maintain the consistency of
assigned personnel. Should any key personnel become unavailable to work under the Contract for any
reason, the Contractor shall timely propose qualified replacements. If, in the judgment of NCAOC,such
proposed replacements are not satisfactory, NCAOCshall have the right to terminate the existing
Contract for convenience in accordance with its terms.

28) SECURITYAND BACKGROUNDCHECKS
Contractor shall conduct a national criminal background check on all its staff involved in the work of this
Contract, regardless of whether that staff is an employee, subcontractor, or other agent of the
Contractor. Any expense related to the background check process is the sole responsibility of the
Contractor. Staff shall receive training and continuously maintain his or her CJIScertification as long as
he or she performs or provides any such service or is associated with this Contract. Tyler requires that
all employees with potential accessto CJIsign the CJIScertification page. Tyler keeps this signed form
on a FIPSencrypted secure Kiteworks site, and will provide NCAOCaccessto this site throughout the
Contract Term. If any staff is convicted of a felony of any type or of a misdemeanor involving an act of
violence, larceny, or the illegal use, possession, sale, manufacture, distribution, or transportation of a
controlled substance after being assigned to work under the Contract, Contractor shall immediately
remove said staff from any involvement in the work of the Contract and inform NCAOCContract
Administrator of such removal, including nonconfidential information of such removal.

NCAOCmay require proof of security background check at any time during the term of the Contract.
Contractor shall provide a copy of the background check, with confidential elements redacted, to
NCAOCContract Administrator within 24-hours of such a request. NCAOCmay refuse accessto or
require replacement of any such personnel for demonstrated change in security status or non-
compliance with NCAOC'ssecurity policy. NCAOC'sremoval of Contractor personnel pursuant to this
requirement shall not relieve Contractor of its obligations to perform all work in compliance with the
terms of the Contract.


 Contract between NCAOC& Tyler
 Reference #2019-61
                                                                                                              Page22 of 30




    Case 1:23-cv-00423-WO-JLW Document 76-4 Filed 02/26/24 Page 23 of 31
NCAOCmay reject or bar any Contractor personnel, whether employee or agent, from the State facilities
for cause. Facilities, as used herein, shall comprise physical locations, internet based resources or
interfaces, intranet resources, or informational resources.

29} CONFIDENTIALITYOF CONTRACTOR'SINFORMATION
NCAOCshall use best efforts to maintain the confidentiality ofTyler's confidential information subject to
the North Carolina Public Records Act (PRA), N.C.G.S.§ 132-1, et seq. Such information may include
trade secrets defined by N.C.G.S.§ 66-152 and other information exempted from the PRA. Vendor may
designate information, Products, Software or appropriate portions of its RFPresponse as confidential,
consistent with and to the extent permitted under applicable law or the PRA,by appropriately marking
the top and bottom of pages containing confidential information with a legend in boldface type
"CONFIDENTIAL."By so marking any page, the Vendor warrants that it has formed a good faith opinion,
having received such necessary or proper review by counsel and other knowledgeable advisors that the
portions marked confidential meet the requirements of the PRAor other applicable law. The Vendor
shall not mark all pages of its offer "CONFIDENTIAL." However, under no circumstances shall price
information be designated as confidential unless the PRA is amended to exempt pricing information
from disclosure.


NCAOCagrees to promptly notify the Contractor in writing of any action seeking to compel the
disclosure of Contractor's confidential information. The Contractor, should it wish to prevent the
disclosure of such information, shall attempt to obtain a protective order from a court of competent
jurisdiction if Contractor contends that the requested information is confidential pursuant to the PRAor
other applicable law. If an action is brought pursuant to N.C.G.S.§ 132-9 to compel NCAOCto disclose
information marked confidential, the Contractor agrees that it will intervene in the action through its
counsel should it wish to prevent the disclosure of such information and participate in defending
 NCAOC,including any public official(s) or public employee(s). The Contractor agrees that it shall hold
 NCAOCand any official(s) and individual(s) harmless from any and all damages, costs, and attorneys'
fees awarded against NCAOCin the action. NCAOCshall have the rights, at its option and expense, to
 participate in the defense of the action through its counsel. NCAOCshall have no liability to Contractor
with respect to the disclosure of Contractor's confidential information ordered by a court of competent
jurisdiction pursuant to N.C.G.S.§ 132-9 or other applicable law.

30} ASSIGNMENT
Contractor shall not assign the Contract or its obligations thereunder notwithstanding whether an
assignment is voluntary, by operation of law, or otherwise.
However, upon written request and after written approval by NCAOC,NCAOCmay:
    a) Forward the Contractor's payment check directly to any person or entity designated by the
         Contractor; or,
    b) Include any person or entity designated by Contractor as joint payee on the Contractor's
         payment.
In no event shall such approval and action obligate NCAOCto anyone other than the Contractor, and the
Contractor shall at all times remain responsible for all obligations contained in the Contract. The
foregoing notwithstanding, NCAOCapproval is not required for an assignment by Contractor as a result
of a corporate reorganization, merger, acquisition, or purchase of substantially all of Contractor's assets.
Contractor shall provide timely notice of such assignment in accordance with applicable laws and
regulations.


  Contract between NCAOC& Tyler
  Reference 112019-61
                                                                                                               Page23 of 30




    Case 1:23-cv-00423-WO-JLW Document 76-4 Filed 02/26/24 Page 24 of 31
31}   NOTICES
Any notices required under the Contract shall be delivered to the Contract Administrator for each party.
Unless otherwise specified in the Contract, any notices shall be delivered in writing by U.S. Mail,
commercial courier, email, facsimile, or by hand.

32) TITLES AND HEADINGS
Titles and Headings in the Contract are used for convenience only and do not define, limit or proscribe
the language of terms identified by such Titles and Headings.

33} AMENDMENTS AND ADDENDA
The Contract shall not be amended orally or by performance. Any amendment or addenda shall be
made in written form and signed by duly authorized representatives of NCAOCand Contractor.

34) TAXES
NCAOCis exempt from federal excise taxes and no payment will be made for any personal property
taxes levied on the Contractor or for any taxes levied on employee wages. Exemption forms submitted
by the Contractor will be completed and returned to the Contractor by NCAOC. Prices offered shall not
include any personal property taxes or any sales or use taxes or fees. The North Carolina Department of
Revenue has issued sales and use tax exemption number 400040 to NCAOC.

35) GOVERNING LAWS, JURISDICTION, AND VENUE
The Contract shall be made under, governed, and construed in accordance with the laws of the State of
North Carolina. The place of the Contract, its situs and forum, shall be Wake County, North Carolina,
where all matters, whether sounding in Contract or in tort, relating to its validity, construction, and
enforcement shall be determined. Contractor will agree and submit, solely for matters relating to the
Contract and any amendments thereto, to the jurisdiction and venue of the state or federal courts
serving Wake County.

36} DISPUTE RESOLUTION PROCSS& DEFAULT
      a) The Parties agree to provide each other with written notice within forty-five (45) days of
         becoming aware of any dispute over performance or payment, or any other obligation under
         this Contract. The Parties agree to cooperate in trying to reasonably resolve all disputes,
         including, if requested by either party, appointing senior representatives to meet and engage in
         good faith negotiations. Senior representatives will convene within forty-five (45) days of the
         written dispute notice, unless otherwise agreed. All meetings and discussions between senior
         representatives will be deemed confidential settlement discussions not subject to disclosure
         under Federal Rule of Evidence 408 or any similar applicable state rule. If the Parties fail to
         resolve the dispute, the Parties will proceed to non-binding mediation before a single North
         Carolina mediator jointly selected by Tyler and NCAOC.Nothing in this Paragraph shall prevent
         NCAOCor Contractor from seeking necessary injunctive relief from a federal or State court of
         competent jurisdiction in North Carolina during the dispute resolution process.
      b) In the event Contractor fails to conform to any material requirement of the Contract, notice of
         the failure shall be provided by NCAOC. If the failure is not cured, or a mutually agreeable cure
         process is not confirmed, within thirty (30) days of such notice, and after resort to the above
         dispute resolution process, NCAOCwill be permitted to terminate the Contract in accordance



 Contract between NCAOC & Tyler
 Reference 112019-61
                                                                                                             Page 24 of 30




      Case 1:23-cv-00423-WO-JLW Document 76-4 Filed 02/26/24 Page 25 of 31
         with Paragraph 39 below. Default may be cause for debarment. The rights and remedies of
         NCAOCprovided herein and in Paragraph 39 shall not be exclusive and are in addition to any
         other rights and remedies provided by law or under the Contract.
    c) Should NCAOCfail to perform any of its obligations upon which Contractor's performance is
       conditioned, Contractor shall not be in default for any delay, cost increase, or other
       consequences due to NCAOC'sfailure. However, Contractor shall use reasonable efforts to
       mitigate such delays, costs or expenses. Any deadline that is adversely affected by NCAOC's
       failure to perform shall be extended by an amount of time reasonably necessary to compensate
       for the effect of such failure.

37) FORCE MAJEURE
Neither party shall be deemed to be in default of its obligations under the Contract if and so long as it is
prevented from performing such obligations as a result of events beyond its reasonable control,
including without limitation, fire, power failures, any act of war, hostile foreign action, nuclear
explosion, riot, civil insurrection, earthquake, hurricane, tornado, other catastrophic natural event or act
of God, or any other State or national emergency.

38} COMPLIANCE WITH LAWS
The Contractor shall comply with all laws, ordinances, codes, rules, regulations, and licensing
requirements that are applicable to its performance of its obligations under this Contract. The
Contractor shall take all necessary action to comply with all federal and State requirements concerning
its employees regarding fair employment and employment of people with disabilities, and concerning
the treatment of all its employees without regard to discrimination by reason of race, color, religion,
sex, national origin or disability.

39} TERMINATION
    a) Any notice or termination made under the Contract shall be transmitted via U.S.Certified
       Mail with Return Receipt Requested. The period of notice for termination shall begin on the
       day the Return Receipt is signed and dated.
    b) The Parties may mutually terminate this Contract by written agreement at any time.
    c)   NCAOCmay terminate the Contract, in whole or in part, as follows:
             i)Termination for Default: In the event any Product or service furnished by the Contractor
               during performance fails to conform to the requirements of the Contract, and the failure
               is not cured, or a mutually agreeable action plan to address is not created, within thirty
               (30) days after providing written notice thereof to Contractor and resort to the dispute
               resolution process. Resort to the dispute resolution process shall not relieve the
               Contractor of liability to NCAOCfor damages allegedly sustained by NCAOCarising from
               Contractor's breach of the Contract.
           ii) Termination for Convenience Without Default: NCAOCmay terminate the Contract, in
               whole or in part, by giving thirty (30) days prior notice in writing to the Contractor.
               Voluntary or involuntary bankruptcy or receivership by Contractor shall be cause for
               termination under this subsection.
    d) Payment Due Upon Termination: In the event of termination, NCOACwill pay Contractor for all
       undisputed fees and expenses related to the Software, Products, or services NCOAChas
       received, or Contractor has incurred or delivered, prior to the effective date of termination.
       Disputed fees and expenses in all terminations other than NCOAC'stermination for cause must
       have been submitted to the invoice dispute resolution process prior to notice of termination.


 Contract between NCAOC& Tyler
 Reference #2019-61
                                                                                                               Page 25 of 30




    Case 1:23-cv-00423-WO-JLW Document 76-4 Filed 02/26/24 Page 26 of 31
   e)   Tyler may terminate this Contract if (1) NCAOCfails to pay the Saas Fees, (2) the Parties have
        completed the dispute resolution process, and (3) NCAOCdoes not cure such failure to pay
        within forty-five (45) days of receiving written notice ofTyler's intent to terminate. Tyler shall
        not terminate or withhold Saas Services, support, or maintenance provided under the Contract
        until the Contract has been terminated.

40) TRANSITIONAND EXITASSISTANCE
Upon or prior to expiration, termination, or cancellation of the Contract, Contractor shall reasonably
cooperate to work with NCAOCand the new Contractor (if any) to ensure an orderly transition of
services and responsibilities under the Contract. Specifically, Contractor agrees to the following:
    a) Without additional cost, Contractor shall assist NCAOCby providing a copy of the database and
        all related unstructured Judicial Branch Data (e.g., documents, images, etc.) and structured
        Judicial Branch Data in a non-Tyler proprietary format that maintains the Judicial Branch Data's
        relational integrity.
    b) In the event that Contractor's successor experiences delays in implementation of successor's
       system, Contractor shall extend the Contract on a month-to-month basis with payments as
       agreed by NCAOCand Contractor.
    c) Upon completion of the transition, Contractor agrees to delete or destroy all Judicial Branch
       Data in the production environment and give reasonable assurances to NCAOCwhen this is
       completed. Any data remaining in backups shall continue to be subject to the confidentiality
       requirements of this Contract if incapable of being removed by commercially reasonable efforts.
    d) Any transition services requested by NCAOCinvolving additional knowledge transfer and
       support, if provided by Contractor, may be subject to a separate transition statement of work
       (SOW) on a time and materials basis either for a fixed fee or at rates to be mutually agreed upon
       by the Parties.
    e) If NCAOCdetermines in its sole discretion that a documented transition plan is necessary, then
       NCAOCshall provide notice of such necessity to Contractor such that the parties may, no later
       than sixty (60) days prior to termination, jointly create a written transition plan document
       identifying transition services to be provided and including a SOW if applicable. Both Parties
       shall comply with the transition plan document both prior to and after termination as needed.
       Such transition plan document shall be provided at Contractor's then-current rates.

41) SEVERABILITY    AND SURVIVAL
In the event that a court of competent jurisdiction holds that a provision or requirement of the Contract
violates any applicable law, each such provision or requirement shall be enforced only to the extent it is
not in violation of law or is not otherwise unenforceable and all other provisions and requirements of
the Contract shall remain in full force and effect. All promises, requirements, terms, conditions,
provisions, representations, guarantees and warranties contained in the Contract shall survive the
expiration or termination date unless specifically provided otherwise herein, or unless superseded by
applicable federal or State statute, including statutes of repose or limitation.

42)FEDERALINTELLECTUAL      PROPERTYBANKRUPTCYPROTECTIONACT
The Parties agree that NCAOCshall be entitled to all rights and benefits of the federal Intellectual
Property Bankruptcy Protection Act, Public Law 100-506, codified at 11 U.S.C.365(n), and any
amendments thereto.




 Contract between NCAOC & Tyler
 Reference #2019-61
                                                                                                             Page 26 of 30




    Case 1:23-cv-00423-WO-JLW Document 76-4 Filed 02/26/24 Page 27 of 31
43) SUBCONTRACTING
Aside from its hosting provider, Contractor shall not subcontract the performance of the obligations in
the Contract with third parties, or change subcontractors, without NCAOC'sprior written consent. If
NCAOCapproves any subcontractor(s), the subcontractor shall adhere to the same standards and
performance requirements as the Contractor unless otherwise noted in such approval. Any Contracts
made between the Contractor and a subcontractor after execution of this Contract shall include
affirmative statements that: (i) NCAOCis the intended third-party beneficiary of the subcontract; and
(ii) the subcontractor has no agreement with NCAOC. Notwithstanding any other term herein,
Contractor shall timely exercise its Contract remedies against any non-performing subcontractor and,
when appropriate, request permission from NCAOCto substitute another subcontractor. In no event
shall NCAOCbe obligated to any party other than the Contractor, and the Contractor shall remain
responsible to NCAOCfor all Contract obligations.

44) TIME IS OF THE ESSENCE
Time will be of the essence in the performance of the obligations contained in the Contract according to
the project deadlines and other milestones mutually agreed to by the Parties as set forth in the
Statement of Work.

45) INDEPENDENT CONTRACTORS
Contractor and its employees, officers and executives, as well as subcontractors, if any, shall be
independent Contractors under the Contract, and not employees or agents of NCAOC.The Contract shall
not operate to form a joint venture, partnership, trust, agency, or any other business relationship.

46) INSURANCE REQUIREMENTS
During the Term of the Contract, the Contractor, at its sole cost and expense, shall maintain in full force
and effect, the insurance described below. Providing and maintaining adequate insurance coverage
described herein is a material obligation of the Contractor. All such insurance shall meet all laws of the
State of North Carolina. Such insurance coverage shall be obtained from companies that are rated no
less than A-VIII, or equivalent, in the most current available "Best's Key Rating Guide," or equivalent,
and shall be issued by companies authorized to provide such coverage in North Carolina by the North
Carolina Insurance Commissioner. The limits of coverage under each insurance policy maintained by the
Contractor shall not be interpreted as limiting the Contractor's liability and obligations under this
Contract. Commercial General Liability and Automobile Liability insurance required under the Contract
shall be issued in the name of the Contractor with NCAOCnamed as additional insured. Upon request,
Contractor shall provide proof of coverage in the form of a current certificate of insurance and
applicable blanket endorsements before commencement of work and upon policy renewals. At a
minimum, the Contractor shall provide the following coverage and limits:
    a) Privacy/Cyber Professional Liability Policy including Technology Errors and Omissions in the
         minimum amount of twenty million dollars ($20,000,000) per occurrence and twenty million
         dollars ($20,000,000) in the aggregate;
    b) Worker's Compensation -The Contractor shall provide and maintain Worker's Compensation
         insurance as required by the laws of the State of North Carolina, as well as employer's liability
         coverage with minimum limits of one hundred thousand dollars ($100,000), covering all of
         Contractor's employees who are engaged in any work under the Contract. If any work is
         subcontracted, the Contractor shall require subcontractor to provide the same coverage for any
         of the subcontractor's employees engaged in work under the Contract;




 Contract between NCAOC& Tyler
 Reference #2019-61
                                                                                                              Page 27 of 30




    Case 1:23-cv-00423-WO-JLW Document 76-4 Filed 02/26/24 Page 28 of 31
    c) Commercial General Liability- Generable Liability Coverage on a Comprehensive Broad Form
       on an occurrence basis in the minimum amount of one million dollars ($1,000,000) per
       occurrence and two million dollars ($2,000,000) in the aggregate; and,
    d) Automobile -Automobile Liability Insurance to include, liability coverage, covering all owned,
       hired and non-owned vehicles, used in connection with the Contract. The minimum combined
       single limit shall be one million dollars ($1,000,000) combined single limit.


47} ADVERTISING/PRESSRELEASES
The Contractor absolutely shall not publicly disseminate any information concerning the Request for
Proposal or any Contract without the prior written approval of NCAOCProcurement Services in
coordination with the NCAOCCommunications Office, which shall not be unreasonably withheld. The
foregoing notwithstanding, Contractor is permitted to list NCOACas a client on its client lists upon
written approval by NCAOC,which shall not be unreasonably withheld.

48) SERVICESREQUIREMENTS
    a) Additional Services. The Cost Proposal & Payment Schedule contains the scope of services and
       related costs (including programming and interface estimates) required for the project based on
       the documented scope of the project as of the Effective Date. If additional work is required, or
       if NCAOCuses or requests additional services, Tyler will provide NCOACwith an addendum or
       change order, as applicable, outlining the costs for the additional work. The price quotes in any
       subsequent addendum or change order will be valid for ninety {90) days from the date of the
       quote.
    b) Cancellation. If travel is required, Tyler will make all reasonable efforts to schedule travel for
       Tyler personnel, including arranging travel reservations, at least two (2) weeks in advance of
       commitments. Therefore, if NCAOCrepeatedly cancels services less than two (2) weeks in
       advance (other than for Force Majeure or breach by Tyler), NCAOCwill be liable for all (a) non-
       refundable expenses incurred by Tyler on NCAOC'sbehalf, and (b) daily fees associated with
       cancelled professional services if Tyler is unable to reassign its personnel. Tyler will make all
       reasonable efforts to reassign personnel in the event NCAOCcancels within two (2) weeks of
       scheduled commitments. If Tyler intends to exercise this provision, Tyler will provide an
       estimate of the cost at the time of NCAOC'scancellation request.
    c) Site Access and Requirements. At no cost to Tyler, NCAOCagrees to provide Tyler with full and
       free accessto NCAOCpersonnel, facilities, and equipment as may be reasonably necessary for
       Tyler to provide implementation services, subject to any reasonable security protocols or other
       written policies provided to Tyler as of the Effective Date, and thereafter as mutually agreed to
       by the Parties. NCAOCagrees that it is NCAOC'sresponsibility to ensure that NCAOCsatisfies
       the then-current system requirements, if any, minimally required to run the Tyler Software.
    d) Client Assistance. NCAOCacknowledges that the implementation of the Tyler Software, and the
       ability to meet project deadlines and other milestones, is a cooperative effort requiring the time
       and resources of NCAOCpersonnel, as well as Tyler's. NCAOCagrees to use all reasonable
       efforts to cooperate with and assist Tyler as may be reasonably required to meet the agreed
       upon project deadlines and other milestones for implementation. This cooperation includes at
       least working with Tyler to schedule the implementation-related services outlined in this
       Contract.




 Contract between NCAOC& Tyler
 Reference #2019-61
                                                                                                            Page 28 of 30




    Case 1:23-cv-00423-WO-JLW Document 76-4 Filed 02/26/24 Page 29 of 31
49) INVOICING AND INVOICE DISPUTES.
   a) If NCAOCbelieves any Tyler Software or services do not conform to the warranties in this
      Contract, NCAOCwill provide Tyler with written notice within thirty (30) days of NCAOC'sreceipt
      of the applicable invoice. The written notice must contain reasonable detail of the issues
      NCAOCcontends are in dispute so that Tyler can confirm the issue and respond to NCAOC's
      notice with either a justification of the invoice, an adjustment to the invoice, or a proposal
      addressing the issues presented in NCAOC'snotice. Tyler will work with NCAOCas may be
      necessary to develop an action plan that outlines reasonable steps to be taken by the Parties to
      resolve any issues presented in NCAOC'snotice. NCAOCmay withhold payment of the
      amount(s) actually in dispute, and only those amounts, until Tyler completes the action items
      outlined in the plan. If Tyler is unable to complete the action item(s) outlined in the action plan
      because of NCAOC'sfailure to complete the item(s) agreed to be done by NCAOC,and NCAOC
      does not rectify that failure within a commercially reasonable timeframe after Tyler has notified
      NCAOCof it, then Tyler may demand immediate full payment of the invoice.
   b) Tyler will invoice NCAOCthe Saas Fees and fees for other professional services as indicated in
      the Cost Proposal & Payment Schedule, subject to Paragraph 49(a).

50) COUNTERPARTS.
This Contract may be executed in counterparts.



    [The remainder of this page is intentionally left blank.]




 Contract between NCAOC & Tyler
 Reference #2019-61
                                                                                                            Page 29 of 30




    Case 1:23-cv-00423-WO-JLW Document 76-4 Filed 02/26/24 Page 30 of 31
IN WITNESSHEREOF,the parties have executed this Contract as of the Effective Date.


TylerTechnologies,Inc.




 ame Ty      d or Printed




ATTESTWITNESS:


Witness Signature




Name Typed or Printed




                                             NCAdministrative Office of the Courts




                                             McKinl
                                             Interim Dibr    /,

                                             Date:    6 7 If
                                                      I     I     •




 Contract between NCAOC& Tyler
 Reference#2019-61
                                                                                     Page30 of 30




   Case 1:23-cv-00423-WO-JLW Document 76-4 Filed 02/26/24 Page 31 of 31
